Case 2:10-cv-07415-GW-SS Document 16 Filed 02/07/11 Page 1 of 1 Page ID #:69


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12
13                             UNITED STATES DISTRICT COURT
14                            CENTRAL DISTRICT OF CALIFORNIA
15   JOSE LUIS MADRIGAL,                          CASE NO. CV10-7415 GW (SSx)
16               Plaintiff,
17         v.                                     ORDER OF DISMISSAL
18   CHUMASH CASINO RESORT, and
19   DOES 1-10, Inclusive,

20               Defendants.
21
22         Having considered Defendants’ Motion to Dismiss and Plaintiff’s failure to
23   respond thereto, and for good cause shown:
24         IT IS HEREBY ORDERED that Defendants’ Motion to Dismiss is GRANTED
25   without leave to amend, pursuant to Federal rules of Procedure 12(b)(1) and (6).
26         IT IS SO ORDERED.
27
           Date: February 7, 2011
28                                                GEORGE H. WU, U.S. District Judge



                                 [PROPOSED] ORDER OF DISMISSAL
